    Case 1:14-cr-00068-LGS                         Document 379-1                  Filed 11/12/19               Page 1 of 5




AMERICAN BAR ASSOCIATION
STANDING COMMITTEE ON ETHICS AND PROFESSIONAL RESPONSIBILITY

Formal Opinion 10-456                                                               July 14, 2010
Disclosure of Information to Prosecutor When Lawyer's Former Client Brings Ineffective Assistance
of Counsel Claim

Although an ineffective assistance of counsel claim ordinarily waives the attorney-client privilege with
regard to some otherwise privileged information, that information still is protected by Model Rule 1.6(a)
unless the defendant gives informed consent to its disclosure or an exception to the confidentiality rule
applies. Under Rule 1.6(b)(5), a lawyer may disclose information protected by the rule only if the lawyer
“reasonably believes [it is] necessary” to do so in the lawyer’s self-defense. The lawyer may have a
reasonable need to disclose relevant client information in a judicial proceeding to prevent harm to the
lawyer that may result from a finding of ineffective assistance of counsel. However, it is highly unlikely that
a disclosure in response to a prosecution request, prior to a court-supervised response by way of testimony
or otherwise, will be justifiable.

          This opinion addresses whether a criminal defense lawyer whose former client claims that the
lawyer provided constitutionally ineffective assistance of counsel may, without the former client’s informed
consent, disclose confidential information to government lawyers prior to any proceeding on the defendant’s
claim in order to help the prosecution establish that the lawyer’s representation was competent. 1 This
question may arise, for example, because a prosecutor or other government lawyer defending the former
client’s ineffective assistance claim seeks the trial lawyer’s file or an informal interview to respond to the
convicted defendant’s claim, or to prepare for a hearing on the claim.
          Under Strickland v. Washington, 2 a convicted defendant seeking relief (e.g., a new trial or
sentencing) based on a lawyer’s failure to provide constitutionally effective representation, must establish
both that the representation “fell below an objective standard of reasonableness” and that the defendant
thereby was prejudiced, i.e., that “there is a reasonable probability that, but for counsel’s unprofessional
errors, the result of the proceeding would have been different.” 3 Claims of ineffective assistance of counsel
often are dismissed without taking evidence due to insufficient factual allegations or other procedural
deficiencies. Numerous claims also are dismissed without a determination regarding the reasonableness of
the trial lawyer’s representation based on the defendant’s failure to show prejudice. The Supreme Court
recently expressed confidence “that lower courts – now quite experienced with applying Strickland – can
effectively and efficiently use its framework to separate specious claims from those with substantial merit.” 4
Although it is highly unusual for a trial lawyer accused of providing ineffective representation to assist the
prosecution in advance of testifying or otherwise submitting evidence in a judicial proceeding, sometimes
trial lawyers have done so, 5 and commentators have expressed concerns about the practice. 6
          In general, a lawyer must maintain the confidentiality of information protected by Rule 1.6 for
former clients as well as current clients and may not disclose protected information unless the client or
former client gives informed consent. See Rules 1.6 & 1.9(c). The confidentiality rule “applies not only to
matters communicated in confidence by the client but also to all information relating to the representation,
whatever its source.” 7

1
  This opinion is based on the ABA Model Rules of Professional Conduct as amended by the ABA House of Delegates through August
2010. The laws, court rules, regulations, rules of professional conduct, and opinions promulgated in individual jurisdictions are
controlling.
2
  466 U.S. 668 (1984).
3
  Id. at 694.
4
  Padilla v. Kentucky, __ U.S. __, 130 S. Ct. 1473, 1485 (2010).
5
  See, e.g., Purkey v. United States, 2009 WL 3160774 (W.D. Mo. Sept. 29, 2009), motion to amend denied, 2009 WL 5176598 (Dec.
22, 2009) (lawyer represented criminal defendant at trial and on appeal voluntarily filed 117-page affidavit extensively refuting former
client’s ineffective assistance of counsel claim); State v. Binney, 683 S.E.2d 478 (S.C. 2009) (defendant’s trial counsel met with law
enforcement authorities and provided his case file to them in response to defendant’s ineffective assistance of counsel claim).
6
  See, e.g., Lawrence J. Fox, Making the Last Chance Meaningful: Predecessor Counsel’s Ethical Duty to the Capital Defendant, 31
HOFSTRA L. REV. 1181, 1186-88 (2003); David M. Siegel, The Role of Trial Counsel in Ineffective Assistance of Counsel Claims: Three
Questions to Keep in Mind, CHAMPION, Feb. 2009, at 14.
7
  Rule 1.6 cmt. 3. See, e.g., Perez v. Kirk & Carrigan, 822 S.W.2d 261 (Tex. App. 1991) (law firm breached its fiduciary duty when,
    Case 1:14-cr-00068-LGS                          Document 379-1                    Filed 11/12/19               Page 2 of 5


10-456 Formal Opinion                                                                                                                 2

          Ordinarily, if a lawyer is called as a witness in a deposition, a hearing, or other formal judicial
proceeding, the lawyer may disclose information protected by Rule 1.6(a) only if the court requires the
lawyer to do so after adjudicating any claims of privilege or other objections raised by the client or former
client. Indeed, lawyers themselves must raise good-faith claims unless the current or former client directs
otherwise. 8 Outside judicial proceedings, the confidentiality duty is even more stringent. Even if
information clearly is not privileged and the lawyer could therefore be compelled to disclose it in legal
proceedings, it does not follow that the lawyer may disclose it voluntarily. In general, the lawyer may not
voluntarily disclose any information, even non-privileged information, relating to the defendant’s
representation without the defendant’s informed consent.
          Accordingly, unless there is an applicable exception to Rule 1.6, a criminal defense lawyer required
to give evidence at a deposition, hearing, or other formal proceeding regarding the defendant’s ineffective
assistance claim must invoke the attorney-client privilege and interpose any other objections if there are
nonfrivolous grounds on which to do so. The criminal defendant may be able to make nonfrivolous
objections to the trial lawyer’s disclosures even though the ineffective assistance of counsel claim ordinarily
waives the attorney-client privilege and work product protection with regard to otherwise privileged
communications and protected work product relevant to the claim. 9 For example, the criminal defendant
may be able to object based on relevance or maintain that the attorney-client privilege waiver was not broad
enough to cover the information sought. If the court rules that the information sought is relevant and not
privileged or otherwise protected, the lawyer must provide it or seek appellate review.
          Even if information sought by the prosecution is relevant and not privileged, it does not follow that
trial counsel may disclose such information outside the context of a formal proceeding, thereby eliminating
the former client’s opportunity to object and obtain a judicial ruling. Absent a relevant exception, a lawyer
may disclose client information protected by Rule 1.6 only with the client’s “informed consent.” Such
consent “denotes the agreement by a person to a proposed course of conduct after the lawyer has
communicated adequate information and explanation about the material risks of and reasonably available
alternatives to the proposed course of conduct.” Rules 1.0(e) & 1.6(a). A client’s express or implied waiver
of the attorney-client privilege has the legal effect of forgoing the right to bar disclosure of the client’s prior
confidential communications in a judicial or similar proceeding. Standing alone, however, it does not
constitute “informed consent” to the lawyer’s voluntary disclosure of client information outside such a
proceeding. 10 A client might agree that the former lawyer may testify in an adjudicative proceeding to the


under threat of subpoena, it disclosed former client’s statement to prosecutor without former client’s consent; court stated that
“[d]isclosure of confidential communications by an attorney, whether privileged or not under the rules of evidence, is generally
prohibited by the disciplinary rules,” id. at 265 n.5).
8
  “Absent informed consent of the client to do otherwise, the lawyer should assert on behalf of the client all nonfrivolous claims that ...
the information sought [in a judicial or other proceeding] is protected against disclosure by the attorney-client privilege or other
applicable law.” Rule 1.6, cmt. 13. The lawyer’s obligation to protect the attorney-client privilege ordinarily applies when the lawyer is
called to testify or provide documents regarding a former client no less than a current client. See, e.g., ABA Comm. on Eth. and Prof’l
Responsibility, Formal Op. 94-385 (1994) (Subpoenas of a Lawyer's Files) (“If a governmental agency, or any other entity or person,
subpoenas, or obtains a court order for, a lawyer's files and records relating to the lawyer's representation of a current or former client,
the lawyer has a professional responsibility to seek to limit the subpoena or court order on any legitimate available grounds so as to
protect documents that are deemed to be confidential under Rule 1.6.”); see also Connecticut Bar Ass'n Eth. Op. 99-38 (absent a waiver,
subpoenaed lawyer must invoke the attorney-client privilege if asked to testify regarding inconsistencies between former client's court
testimony and former client's communications with lawyer and previous lawyer), 1999 WL 33115188; Maryland State Bar Ass’n
Committee on Eth. Op. 2004-17 (2004) (if subpoenaed lawyer's client was "estate," lawyer permitted to turn over documents to
successor personal representative and may reveal information; if representation included the former personal representative in both his
fiduciary and in his individual capacity, lawyer is subject to constraints of Rule 1.6(a)); Rhode Island Sup. Ct. Eth. Adv. Panel Op. No.
98-02 (1998) (lawyer who received notice of deposition and subpoena must not disclose information relating to representation of former
client); South Carolina Bar Eth. Adv. Committee Adv. Op. 98-30 (1998) (in response to third party's request for affidavits and/or
depositions, lawyer must assert attorney-client privilege and may only disclose such information by order of court); Utah State Bar Eth.
Advisory Op. Committee Op. 05-01, 2005 WL 5302775 (2005) (absent court order requiring lawyer's testimony, and notwithstanding
subpoena served on lawyer by prosecution, lawyer may not divulge any attorney-client information, either to prosecution or in open
court).
9
   See RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 80(1)(b) & cmt. c (2000) (“A client who contends that a lawyer’s
assistance was defective waives the privilege with respect to communications relevant to that contention. Waiver affords to interested
parties fair opportunity to establish the facts underlying the claim.”)
10
    Cf. Clock v. United States, No. 09-cv-379-JD, slip op. (D.N.H. 2010). In Clock, at the prosecution’s request, the defendant signed a
form explicitly waiving the attorney-client privilege with respect to the issues in her post-conviction petition in order to authorize her
trial lawyer to answer questions regarding her ineffective assistance of counsel claim. Based on her office’s institutional policy, trial
counsel nonetheless declined to respond to the prosecution’s questions unless ordered to do so by the court. Based on the defendant’s
    Case 1:14-cr-00068-LGS                           Document 379-1                    Filed 11/12/19                Page 3 of 5


10-456 Formal Opinion                                                                                                                   3

extent the court requires but not agree that the former lawyer voluntarily may disclose the same client
confidences to the opposite party prior to the proceeding.
          Where the former client does not give informed consent to out-of-court disclosures, the trial lawyer
who allegedly provided ineffective representation might seek to justify cooperating with the prosecutor based
on the “self-defense exception” of Rule 1.6(b)(5), 11 which provides that “[a] lawyer may reveal information
relating to the representation of a client to the extent the lawyer reasonably believes necessary ... to establish
a claim or defense on behalf of the lawyer in a controversy between the lawyer and the client, to establish a
defense to a criminal charge or civil claim against the lawyer based upon conduct in which the client was
involved, or to respond to allegations in any proceeding concerning the lawyer’s representation of the client.”
The self-defense exception grows out of agency law and rests on considerations of fairness. 12 Rule 1.6(b)(5)
corresponds to a similar exception to the attorney-client privilege that permits the disclosure of privileged
communications insofar as necessary to the lawyer’s self-defense. 13
          The self-defense exception applies in various contexts, including when and to the extent reasonably
necessary to defend against a criminal, civil or disciplinary claim against the lawyer. The rule allows the
lawyer, to the extent reasonably necessary, to make disclosures to a third party who credibly threatens to
bring such a claim against the lawyer in order to persuade the third party that there is no basis for doing so. 14
For example, the lawyer may disclose information relating to the representation insofar as necessary to
dissuade a prosecuting, regulatory or disciplinary authority from initiating proceedings against the lawyer or
others in the lawyer’s firm, and need not wait until charges or claims are filed before invoking the self-
defense exception. 15 Although the scope of the exception has expanded over time, 16 the exception is a
limited one, because it is contrary to the fundamental premise that client-lawyer confidentiality ensures client
trust and encourages the full and frank disclosure necessary to an effective representation. 17 Consequently, it
has been said that “[a] lawyer may act in self-defense under [the exception] only to defend against charges
that imminently threaten the lawyer or the lawyer’s associate or agent with serious consequences ....” 18
          When a former client calls the lawyer’s representation into question by making an ineffective
assistance of counsel claim, the first two clauses of Rule 1.6(b) (5) do not apply. The lawyer may not
respond in order “to establish a claim or defense on behalf of the lawyer in a controversy between the lawyer


explicit waiver, the court ordered trial counsel to submit an affidavit limited to the issues in the defendant’s petition. Id. at *2.
11
   Although the confidentiality duty is subject to other exceptions, none of the other exceptions seems applicable to this situation.
12
   See RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 64 cmt. b (“in the absence of the exception . . ., lawyers accused of
wrongdoing would be left defenseless against false charges in a way unlike that confronting any other occupational group”).
13
   See RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 83.
14
   Rule 1.6 cmt. 10 (“The rule] does not require the lawyer to await the commencement of an action or proceeding that charges such
complicity, so that the defense may be established by responding directly to a third party who has made such an assertion.”). Cases
addressing the self-defense exception to the attorney-client privilege are to the same effect. See, e.g., Meyerhofer v. Empire Fire &
Marine Ins. Co., 497 F.2d 1190 (2d Cir.), cert. denied, 419 U.S. 998 (1974) (lawyer named as defendant in class action brought by
purchasers of securities who claimed that prospectus contained misrepresentations had right to make appropriate disclosure to lawyers
representing stockholders as to his role in public offering of securities).
15
   See, e.g., First Fed. Sav. & Loan Ass’n v. Oppenheim, Appel, Dixon & Co., 110 F.R.D. 557 (S.D.N.Y. 1986) (self-defense exception
to attorney-client privilege permits lawyer who is being sued for misconduct in securities matter to disclose in discovery documents
within attorney-client privilege if lawyer's interest in disclosure outweighs interest of client in maintaining confidentiality of
communications, and if disclosure will serve truth-finding function of litigation process); Association of the Bar of the City of New
York Committee on Prof'l and Jud. Eth. Op. 1986-7, 1986 WL 293096 (1986) (lawyer need not resist disclosure until formally accused
because of cost and other burdens of defending against formal charge and damage to reputation); Pennsylvania Bar Association
Committee on Legal Eth. and Prof'l Resp Eth. Op. 96-48, 1996 WL 928143 (1996) (lawyer charged by former clients with malpractice
in their defense in SEC is permitted to speak to SEC lawyers and reveal information concerning the representation as he reasonably
believes necessary to respond to allegations); South Carolina Bar Eth. Adv. Committee Adv. Op. 94-23, 1994 WL 928298, (1994)
(lawyer under investigation by Social Security Administration for possible misconduct in connection with his client may reveal
confidential information as may be necessary to respond to or defend against allegations; no grievance proceeding pending anywhere
else against lawyer).
16
   Disciplinary Rule 4-101(C)(4) of the predecessor ABA Model Code of Professional Responsibility (1980) provided: “A lawyer may
reveal . . . [c]onfidences or secrets necessary to establish or collect his fee or to defend himself or his employees or associates against an
accusation of wrongful conduct,” but did not expressly authorize the disclosure of confidences to establish a claim on behalf of a lawyer
other than for legal fees.
17
   Rule 1.6 cmt. 2. Commentators have maintained that the exception should be narrowly construed, both because the justifications for
the exception are weak, see CHARLES W. WOLFRAM, MODERN LEGAL ETHICS 308 (1986), and because there are strong policy
considerations that disfavor the exception, including that it is subject to abuse, frustrates the policy of encouraging candor by clients, and
undermines public confidence in the legal profession because it appears inequitable and self-serving. See Henry D. Levine, Self-Interest
or Self-Defense: Lawyer Disregard of the Attorney-Client Privilege for Profit and Protection, 5 HOFSTRA L. REV. 783, 810-11 (1977).
18
   RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 64 cmt. c (emphasis added).
    Case 1:14-cr-00068-LGS                           Document 379-1                    Filed 11/12/19                Page 4 of 5


10-456 Formal Opinion                                                                                                                  4

and the client,” because the legal controversy is not between the client and the lawyer. 19 Nor is disclosure
justified “to establish a defense to a criminal charge or civil claim against the lawyer based upon conduct in
which the client was involved,” because the defendant’s motion or habeas corpus petition is not a criminal
charge or civil claim against which the lawyer must defend.
          The more difficult question is whether, in the context of an ineffective assistance of counsel claim,
the lawyer may reveal information relating to the representation “to respond to allegations in any proceeding
concerning the lawyer’s representation of the client.” This provision enables lawyers to defend themselves
and their associates as reasonably necessary against allegations of misconduct in proceedings that are
comparable to those involving criminal or civil claims against a lawyer. For example, lawyers may disclose
otherwise protected information to defend against disciplinary proceedings or sanctions and disqualification
motions in litigation. On its face, the provision also might be read to apply to a proceeding brought to set
aside a criminal conviction based on a lawyer’s alleged ineffective assistance of counsel, because the
proceeding includes an allegation concerning the lawyer’s representation of the client to which the lawyer
might wish to respond. 20
          Under Rule 1.6(b)(5), however, a lawyer may respond to allegations only insofar as the lawyer
reasonably believes it is necessary to do so. 21 It is not enough that the lawyer genuinely believes the
particular disclosure is necessary; the lawyer’s belief must be objectively reasonable. 22 The Comment
explaining Rule 1.6(b)(5) cautions lawyers to take steps to limit “access to the information to the tribunal or
other persons having a need to know it” and to seek “appropriate protective orders or other arrangements …
to the fullest extent practicable.” 23 Judicial decisions addressing the necessity for disclosure under the self-
defense exception to the attorney-client privilege recognize that when there is a legitimate need for the
lawyer to present a defense, the lawyer may not disclose all information relating to the representation, but
only particular information that reasonably must be disclosed to avoid adverse legal consequences. 24 These
limitations are equally applicable to Rule 1.6(b)(5). 25
          Permitting disclosure of client confidential information outside court-supervised proceedings

19
   See Utah State Bar Eth. Adv. Op. Committee Eth. Op. 05-01, 2005 WL 5302775, at *6 (criminal defense lawyer may not voluntarily
disclose client confidences to prosecutor or in court in response to defendant’s claim that lawyer’s prior advice was confusing; court
stated, “[w]hile an arguable case might be made for disclosure under this exception, it ... is fraught with problems. The primary problem
is that the ‘controversy’ is not between lawyer and client, except quite tangentially. While there may well be a dispute over the facts
between lawyer and client, there is no ‘controversy’ between them in the sense contemplated by the rule. Nor is there a criminal or civil
action     against     the    lawyer.”).          But     see     Arizona     State     Bar     Op.     93-02      (1993),     available    at
http://www.myazbar.org/Ethics/opinionview.cfm?id=652 (interpreting “controversy” to include a disagreement in the public media).
20
   Cf. State v. Madigan, 68 N.W. 179, 180 (Minn. 1896) (lawyer accused of inadequate criminal defense representation may submit
affidavit containing attorney-client privileged information to disprove such charge).
21
   See Rule 1.6(b)(5) (allowing disclosure only “to the extent the lawyer reasonably believes necessary”); Rule 1.6 cmts. 10 & 14.
22
   See Rule 1.0(i) (“‘Reasonable belief’ or ‘reasonably believes’ when used in reference to a lawyer denotes that the lawyer believes the
matter in question and that the circumstances are such that the belief is reasonable.”)
23
   Rule 1.6 cmt. 14. Similar restrictions have been held applicable to the related context in which a lawyer seeks to disclose confidences
to collect a fee. See, e.g., ABA Comm. on Eth. and Prof’l Responsibility, Formal Op. 250 (1943), in OPINIONS OF THE COMMITTEE ON
PROFESSIONAL ETHICS ANNOTATED 555, 556 (American Bar Foundation 1967) (“where a lawyer does resort to a suit to enforce
payment of fees which involves a disclosure, he should carefully avoid any disclosure not clearly necessary to obtaining or defending his
rights”).
24
   For example, in In re Nat’l Mortg. Equity Corp. Mortg. Pool Certificates Sec. Litig., 120 F.R.D. 687, 692 (C.D. Cal. 1988), the district
court “reject[ed] the suggestion made by some parties that ‘selective’ disclosure should not be allowed, that if the exception is permitted
to be invoked, all attorney-client communications should be disclosed,” finding that this suggestion was “directly contrary to the
reasonable necessity standard.” Accord RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 83 cmt. e (“The lawyer's
invocation of the exception must be appropriate to the lawyer’s need in the proceeding. The exception should not be extended to
communications that are of dubious relevance or merely cumulative of other evidence.”); cf. Dixon v. State Bar, 653 P.2d 321, 325 (Cal.
1982) (lawyer sanctioned for gratuitous disclosure of confidence in response to former client’s motion to enjoin lawyer from harassing
her); Levin v. Ripple Twist Mills, Inc., 416 F. Supp. 876, 886-87 (E.D. Pa. 1976) (“In almost any case when an attorney and a former
client are adversaries in the courtroom, there will be a credibility contest between them. This does not entitle the attorney to rummage
through every file he has on that particular client (regardless of its relatedness to the subject matter of the present case) and to publicize
any confidential communication he comes across which may tend to impeach his former client. At the very least, the word ‘necessary’
in the disciplinary rule requires that the probative value of the disclosed material be great enough to outweigh the potential damage the
disclosure will cause to the client and to the legal profession.”).
25
   Courts further recognize that disclosures may be made to defend against a non-client’s accusation of misconduct only if the accusation
is credible enough to put the lawyer at some risk of adverse consequences, such as a criminal indictment or a civil lawsuit; third parties
otherwise would have an incentive to raise utterly meritless claims of lawyer misconduct to gain access to confidential information. Cf.
SEC v. Forma, 117 F.R.D. 516, 519-525 (S.D.N.Y. 1987) (formal charges need not be issued in order for the self defense exception to
apply); First Fed. Sav. & Loan Ass’n v. Oppenheim, Appel, Dixon & Co., 110 F.R.D. 557, 566 n.15 (S.D.N.Y. 1986) (former auditor’s
evidence against lawyer must “pass muster under Fed. R. Civ. P. 11”).
    Case 1:14-cr-00068-LGS                           Document 379-1                   Filed 11/12/19                Page 5 of 5


10-456 Formal Opinion                                                                                                                  5

undermines important interests protected by the confidentiality rule. Because the extent of trial counsel’s
disclosure to the prosecution would be unsupervised by the court, there would be a risk that trial counsel
would disclose information that could not ultimately be disclosed in the adjudicative proceeding. 26
Disclosure of such information might prejudice the defendant in the event of a retrial. 27 Further, allowing
criminal defense lawyers voluntarily to assist law enforcement authorities by providing them with protected
client information might potentially chill some future defendants from fully confiding in their lawyers.
          Against this background, it is highly unlikely that a disclosure in response to a prosecution request,
prior to a court-supervised response by way of testimony or otherwise, will be justifiable. It will be rare to
confront circumstances where trial counsel can reasonably believe that such prior, ex parte disclosure, is
necessary to respond to the allegations against the lawyer. A lawyer may be concerned that without an
appropriate factual presentation to the government as it prepares for trial, the presentation to the court may be
inadequate and result in a finding in the defendant’s favor. Such a finding may impair the lawyer’s
reputation or have other adverse, collateral consequences for the lawyer. This concern can almost always be
addressed by disclosing relevant client information in a setting subject to judicial supervision. As noted
above, many ineffective assistance of counsel claims are dismissed on legal grounds well before the trial
lawyer would be called to testify, in which case the lawyer’s self-defense interests are served without the
need ever to disclose protected information. 28 If the lawyer’s evidence is required, the lawyer can provide
evidence fully, subject to judicial determinations of relevance and privilege that provide a check on the
lawyer disclosing more than is necessary to resolve the defendant’s claim. In the generation since Strickland,
the normal practice has been that trial lawyers do not disclose client confidences to the prosecution outside of
court-supervised proceedings. There is no published evidence establishing that court resolutions have been
prejudiced when the prosecution has not received counsel’s information outside the proceeding. Thus, it will
be extremely difficult for defense counsel to conclude that there is a reasonable need in self-defense to
disclose client confidences to the prosecutor outside any court-supervised setting. 29




26
    Cf. RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 64 cmt. e (before making disclosures under the self-defense
exception, a lawyer ordinarily must give notice to former client).
27
   Some courts preclude the prosecution from introducing the trial lawyer’s statements in a later trial, see, e.g., Bittaker v. Woodford, 331
F.3d 715 (9th Cir.), cert. denied, 540 U.S. 1013 (2003) (waiver of privilege for purposes of habeas claim does not necessarily mean
extinguishment of the privilege for all time and in all circumstances), but not all courts have done so. See, e.g., Fears v. Warden, 2003
WL 23770605 (S.D. Ohio 2003) (scope of habeas petitioner's waiver of privilege not waived for all time and all purposes including
possible retrial).
28
    See, e.g., Utah State Bar Eth. Advisory Op. Committee Op. 05-01, supra notes 8 & 19 (where criminal defense lawyer’s former client
moved to set aside his guilty plea on ground that lawyer’s advice about plea offer confused him, lawyer may not divulge attorney-client
information to prosecutor to prevent a possible fraud on court or protect lawyer’s reputation; lawyer must assert attorney-client privilege
in hearing on former client’s motion, and may testify only upon court order).
29
   See Rule 1.6 cmt. 14.




____________________________________________________________________________________________________________

AMERICAN BAR ASSOCIATION STANDING COMMITTEE ON ETHICS AND PROFESSIONAL
RESPONSIBILITY
321 N. Clark Street, Chicago, Illinois 60654-4714 Telephone (312)988-5300
CHAIR: Robert Mundheim, New York, NY ■ Robert A. Creamer, Evanston, IL ■ Terrence M. Franklin, Los
Angeles, CA ■ Paula J. Frederick, Atlanta, GA ■ Bruce A. Green, New York, NY ■ James M. McCauley,
Richmond, VA ■ Susan R. Martyn, Toledo, OH ■ Mary Robinson, Downers Grove, IL ■ Philip H. Schaeffer,
New York, NY ■ E. Norman Veasey, Wilmington, DE
CENTER FOR PROFESSIONAL RESPONSIBILITY: George A. Kuhlman, Ethics Counsel; Eileen B. Libby,
Associate Ethics Counsel ©2010 by the American Bar Association. All rights reserved.
